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                     IN THE UNITED STATES DISTRICT COURT <@)
                           FOR THE DISTRICT OF DELAWARE


   AMERICAN AXLE & MANUFACTURING, )
   INC.,                          )
                                         )
              Plaintiff,                 )
                                         )
        V.                               ) CA.No. 15-1168-GBW
                                         )
   NEAPCO HOLDINGS LLC and NEAPCO        )
   DRIVELINES LLC,                       )
                                         )
              Defendants.                )

                                  VERDICT FORM




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          Instructions: When answering the following questions and completing this Verdict Form,

  please follow the directions provided and the Jury Instructions that you have been given. Your

  answer to each question must be unanimous. Some of the questions contain legal terms that are

  defined and explained in the Jury Instructions. Please refer to the Jury Instructions if you are

  unsure about the meaning or usage of any legal term that appears in the questions below.

          As used herein:


     1.   American Axle” refers to Plaintiff American Axle & Manufacturing, Inc.

     2. ‘‘Neapco” refers to Defendants Neapco Holdings LLC and Neap.co Drivelines LLC.

     3. ‘Asserted Patent” refers to the ’911 patent, U.S. Patent Number 7,774,911.

     4. “4.5 inch Propshafts” refers to the accused products having a diameter of 4.5 inches.

     5. “5.0 inch Propshafts” refers to the accused products having a diameter of 5.0 inches.

     6. “5.775 inch Propshafts” refers to the accused products having a diameter of 5.775 inches.




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  We, the jury, unanimously agree to the answers to the following questions and return them under
  the instructions of this court as our verdict in this case.


                                  QUESTION 1; Direct Infringement


 Did American Axle prove by a preponderance of the evidence that Neapco’s method of
  manufacturing any ofthe accused propshafts infringes any of the identified claims of the Asserted
 Patent? Check YES or NOfor each claim. “Yes” is afindingfor American Axle. “No” is afinding
 for Neapco.




  Please Proceed to Question 2.

                                                     3
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                                  QUESTION 2: Anticipation


  Did Neapco prove by clear and convincing evidence that any of the identified claims of the
  Asserted Patent are invalid as anticipated? Check YES or NOfor each claim. “Yes” is afinding
 for Neapco. “No” is afindingfor American Axle.

                                                     INVALID DUE TO
                            CLAIM
                                                         ANTICIPATION


                             Claim 1               Yes       No



                             Claim 2               Yes       No   v/


                             Claim 3               Yes       No



                             Claim 4               Yes       No   n/



                             Claim 5               Yes       No



                             Claim 6               Yes       No



                            Claim 12               Yes       No



                            Claim 13               Yes       No



                            Claim 19               Yes       No



                            Claim 20               Yes       No   \/


                            Claim 21               Yes       No




  Please Proceed to Question 3.




                                               4
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                         QUESTION 3; Invalidity Under 35 U.S.C. § 112


  Did Neapco prove by clear and convincing evidence that any of the identified claims of the
  Asserted Patent are invalid because the patent is not enabled, lacks adequate written description,
  or is indefinite? Check YES or NOfor each claim. “Yes” is afindingfor Neapco. “No ” is afinding
 for American Axle.

                                   INVALID DUE TO
                                     INADEQUATE               INV ALID DUE TO
                   CLAIM
                                         WRITTEN             INDEFINITENESS



                    Claim 1       Yes         No
                                                        /    Yes         No   /

                    Claim 2       Yes         No        v/   Yes         No



                    Claim 3       Yes         No             Yes         No    v/


                    Claim 4       Yes         No             Yes         No



                    Claim 5       Yes         No        v/   Yes         No s/

                    Claim 6       Yes         No             Yes         No



                   Claim 12       Yes         No             Yes         No



                   Claim 13        Yes         No '/         Yes         No



                   Claim 19        Yes         No            Yes         No     »/•


                   Claim 20        Yes         No            Yes         No



                   Claim 21        Yes         No       v/   Yes         No




  Please Proceed to Question 4.

                                                    5
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  If you checked “Yes” for any claims in Question 1 and checked “No” for the same claim in all of
  Questions 2 and 3 i.e., you determined that at least one claim is infringed and not invalid, proceed
  to Question 4. Otherwise, skip and DO NOT answer Question 4, and instead please proceed
  directly to the Final Page of the Verdict Form and sign and date that page.

                                      QUESTION 4: Damages


  What is the total amount of damages American Axle has proven by a preponderance of the
  evidence that it is entitled to be paid for lost profits as a result of Neapco’s infringement?


                             4.5                           5.0”                       5.775
   Amount:                                               . <0.00                    . <0,00



  For any sales for which you did not award lost profits and for each propshaft size for which you
  determined that at least one claim is infringed and not invalid, what is the amount of damages
  American Axle has proven by a preponderance of the evidence that it is entitled to be paid as a
  reasonable royalty for past sales of Neapco’s propshafts?


                             4.5                           5.0                        5.775
                                                ■t                             ■i
   Amount:
                                                                                         i




  Please proceed to the Final Page of the Verdict Form and sign and date that page.




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                                  Final Page of the Jury Verdict


  You have now reached the end of the Verdict Form and should review it to ensure it accurately
  reflects your unanimous determinations. Each juror should then sign the verdict form in the spaces
  below. TTie foreperson should date the form and notify the Court Security Officer that you have
  reached a unanimous verdict.


  The foreperson should retain possession ofthe Verdict Form and bring it when the Jury is brought
  back into the courtroom.




  Dated:      \ j'sja/aM




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